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                    UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                            DEL RIO DIVISION
UNITED STATES OF AMERICA,           )
                                    )
                     Plaintiff,     )
V.                                  ) CRIMINAL NO. DR-23-CR-1360-AM
                                    )
(1) MARTIN EDGAR GARZA              )
    PACHECO,                        )
(2) SHIDDARTHA SALINAS AVILA,       )
(3) VICTOR ULYSSES YBARRA-          )
    DANIELS,                        )
                                    )
                     Defendants.    )

                  ADVISORY REGARDING NOTICE OF FORFEITURE

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas and the undersigned Assistant United States Attorney and files this

Advisory Regarding the Notice of Forfeiture and respectfully advises the Court as follows:

                                                 I.

       The Indictment (ECF No. 14) included a notice of Demand for Forfeiture for a forfeiture

money judgment for the violations charged in Counts One to Five.

                                                 II.

       The United States advises the Court that it will not be pursuing a forfeiture money judgment

against the defendants in the instant criminal case.
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                                   Respectfully submitted,

                                   JAIME ESPARZA
                                   United States Attorney

                             By:   /s/
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                                   Attorneys for the United States of America




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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 18, 2024, the foregoing instrument was electronically filed

with the Clerk of the Court using the CM/ECF System which will transmit notification of such

filing to the following CM/ECF participant(s):

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                                                            /s/
                                                            Antonio Franco, Jr.
                                                            Assistant United States Attorney




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